     Case 3:17-cv-02641-AET Document 22 Filed 11/17/17 Page 1 of 5 PageID: 493



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



     C. TATE GEORGE,
                                                           *
                 Petitioner,


     v.                                                    *        Civil Action

                                                                    No. 17-2641 (AET)
     UNITED STATES OF AMERICA,                             *
                 Respondents.
~·




                                .l.._.-._....::.···
                                                      *    *    *
                   PETITIONER'S MOTION FOR DEFAULT JUDGMENT


                 NOW COMES the Petitioner,                          c.   Tate George, pro se, and

     moves this Honorable Court for default judgment in the above-

     captioned matter pursuant to Federal Rules Governing Section 2255

     Proceedings, Rule 5 and Federal Rules of Civil Procedure, Rule 55,

     and in support of this motion states the following:

                 1. That on August 28, 2017, this Honorable Court ordered

     the Respondent ·to file an Answer which responds to the allegations

     of the Petitioner's Amended Motion (Docket Entry No.7) by each

     paragraph and subparagraph within sixty (60) days of the entry of

     said Order.

                 2. That as of November 14, 2017, Respondent has failed

     to Answer and defend any of the allegations of Petitioner's Amended

     Motion.

                 3. That Petitioner re-asserts that each of his allegations

     are true and irrefutable based upon the prior submitted certified

     copies 0£ trial and· sentencing                       transcripts~       trial and appellate

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briefs, and any and all related documents submitted with his original

and amended motion including all related documents in the proceedings.

           WHEREFORE,    the   Petitioner,   c.   Tate George, pro se, hereby

respectfully requests this Honorable Court to enter a Default Judgment

in this instant matter and to GRANT habeas corpus relief in this

matter AS A MATTER OF LAW to include the VACATION of his conviction;

VACATION of his sentence; his immediate release from custody; and for

such other and further relief deemed proper and necessary in the

interests of justice.

DATED: November 14, 2017""~·=.


                                                       Tate Geo         se
                                                    Fed. No.
                                                    FCI Fort Dix
                                                    Box 2000
                                                    Joint Base MDL, NJ 08640-
                                                        5433

                                 AFFIDAVIT

            I HEREBY CERTIFY that the foregoing facts are true and

correct to the best of my knowledge and belief

under 28   u.s.c.   Section 1746.
                                                                             ....-··




                                                                        se

                        CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the following motion for

default judgment was mailed on this L . a y of November, 2017, by

first-class mail, postage prepaid to: Bruce P. Keller, AUSA, Office

of the U.S. Attorney, 970 Broad Street,           ~m.




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                        IN THE   UNIT~D  STATES DISTRICT COURT          R .€         c €     I   v€   D
                             FOR THE O[STRICT OF NEW JERSEY
 __,___ _ _ _ _ ___._..!- -                                                     .   SEP 0' 1 2017.
                                                                        AT 8:30
     C. TATE GEORGE,                                                       .   WIL~M
                                                              . c~ vil Action   CLER:ALSH
                      Petitioner,                           No. 17-2641 (AET)

               v.
                                                                   ORDER
     UNITED STATES OF AMERICA.

                      Respondents.



THOMPSON, District Judge;,..,,

         This matter comes befmre the Court on Petitioner C. Tate

. George's {hereinafter, "Petitioner") amended 28                  u.s.c.       §    2255

motio~       {Docket Entry 7); 1 4he CoUrt having reviewed the amended

 motion under the Rules GovJtning                §    2255 Proceedings; and f6r

 good cause shown,                    I
                                      1$-· day
                                            .          tl~~ ~A• Ay
         IT is on this          a..!.._:J_       of   ·~             , 2017;
               .                       I                                                 .
         ORDERED that the Respindent shall file an Answer which

 responds to the allegations of the amended motion (Docket Entry

 7) by each paragraph and slbparagraph within sixty (60) days of

 the entry of         thi~   Order; ald it is further

         ORDERED that.that the Answer shall be accompanied by

 certified copies of all indictments and/or charges, transcripts,




 1    This   ma~ter was tran~fer~ed from the Honorable Mary                    L~    Cooper,
 u.s.o~J.      to the undersigned on July 24, 2017.
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trial briefs, .appendices, °lpini.ons, and any and all related

documents in the proceedinds; antj it is further

     ORDERED that Petitionjr may submit a response to the Answer

within 30 days of receivinJ the Answer; and it is further

     ORDERED   that, in lieu of an Answer, the Respondent may file

and serve an appropriate mqtion addressing the § 2255 motion;

and it is finally

     ORD~      that the Cler1 of the Court shall send a copy of

this Order to Petitioner ~~:by. regu.la.r mai.l.




                                         ANNE
                                         U.S. District Judge




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